The factual background of this appeal is of the same purport and the question of law involved is identical with that involved in People v. John Haddad, ante, 556, the defendant herein being the mother of John Haddad, the defendant in the above-cited case. They were informed against separately for the same offense, that is, resisting an officer in the performance of his duty.
The records in the two cases show identical court procedures, excepting that defendant John called 3 witnesses and the defendant in the instant case called none.
Decision in this case in controlled by the decision in the above-cited case, and the opinion of the Chief Justice therein is adopted as determinative of the issues herein involved.
Judgment affirmed.
BOYLES, C.J., and NORTH, STARR, WIEST, BUTZEL, BUSHNELL, and SHARPE, JJ., concurred. *Page 562 